Case 18-12165-mdc         Doc 31
                            Filed 11/07/18 Entered 11/07/18 17:31:43 Desc Main
                           Document      Page 1 of 3
                 THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 IN RE:                                     :
 VEALE E. GENTNER                           :     BK. No. 18-12165-mdc
                       Debtor               :
                                            :     Chapter No. 13
 U.S. BANK NATIONAL ASSOCIATION, AS         :
 TRUSTEE FOR RESIDENTIAL FUNDING            :
 MORTGAGE SECURITIES I, INC.,               :
 MORTGAGE PASS-THROUGH                      :
 CERTIFICATES, SERIES 2007-S6               :     11 U.S.C. §362
                       Movant               :
                 v.
 VEALE E. GENTNER
                       Respondent

MOTION OF U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL
    FUNDING MORTGAGE SECURITIES I, INC., MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-S6 FOR RELIEF FROM AUTOMATIC STAY UNDER §362
           PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

               Movant, by its attorneys, PHELAN HALLINAN DIAMOND & JONES, LLP, hereby

requests a termination of Automatic Stay and leave to foreclose on its mortgage on real property

owned by Debtor VEALE E. GENTNER and Non-Filing Co-Debtor ELIZABETH T. GENTNER

(deceased).

               1.      Movant is U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR

RESIDENTIAL FUNDING MORTGAGE SECURITIES I, INC., MORTGAGE PASS-

THROUGH CERTIFICATES, SERIES 2007-S6.

               2.      Debtor, VEALE E. GENTNER and Non-Filing Co-Debtor ELIZABETH T.

GENTNER (deceased) are the owners of the premises located at 676 JEFFERSON ROAD, BRYN

MAWR, PA 19010, hereinafter known as the mortgaged premises.

               3.      Movant is the holder of a mortgage on the mortgaged premises.

               4.      Debtor's failure to tender monthly payments in a manner consistent with the

terms of the Mortgage and Note result in a lack of adequate protection.

               5.      Movant wishes to proceed with foreclosure proceedings on the mortgage

because of Debtor's failure to make the monthly payment required hereunder.

               6.      The foreclosure proceedings were stayed by the filing of the instant Chapter 13
Case 18-12165-mdc         Doc 31     Filed 11/07/18 Entered 11/07/18 17:31:43             Desc Main
                                     Document     Page 2 of 3
Petition.

               7.      As of October 22, 2018, Debtor has failed to tender post-petition mortgage

payments for the months of August 2018 through October 2018. The monthly payment amount for the

months of August 2018 through October 2018 is $2,529.14, less suspense in the amount of $2,130.86,

for a total amount due of $5,456.56. The next payment is due on or before November 1, 2018 in the

amount of $2,529.14. The following fees and costs have been incurred as of bankruptcy filing:

Bankruptcy Fee in the amount of $500.00, Bankruptcy Fee in the amount of $250.00, Bankruptcy Fee

in the amount of $500.00, and Bankruptcy Fee in the amount of $150.00.

               8.      Movant, U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR

RESIDENTIAL FUNDING MORTGAGE SECURITIES I, INC., MORTGAGE PASS-

THROUGH CERTIFICATES, SERIES 2007-S6, requests the Court award reimbursement in the

amount of $1,031.00 for the legal fees and costs associated with this Motion.

               9.      Movant has cause to have the Automatic Stay terminated as to permit Movant

to complete foreclosure on its mortgage.

               10.     Movant specifically requests permission from the Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law.

               11.     OCWEN LOAN SERVICING, LLC services the underlying mortgage loan

and note for the property referenced in this Motion for Relief for U.S. BANK NATIONAL

ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL FUNDING MORTGAGE SECURITIES I,

INC., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-S6 (the noteholder) and is

entitled to proceed accordingly. Should the Automatic Stay be lifted and/ or set aside by Order of this

Court or if this case is dismissed or if the debtor obtains a discharge and a foreclosure action is

commenced or recommenced, said foreclosure action will be conducted in the name of U.S. BANK

NATIONAL ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL FUNDING MORTGAGE

SECURITIES I, INC., MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2007-S6 (the
Case 18-12165-mdc         Doc 31
                             Filed 11/07/18 Entered 11/07/18 17:31:43 Desc Main
                            Document      Page 3 of 3
noteholder). U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR RESIDENTIAL

FUNDING MORTGAGE SECURITIES I, INC., MORTGAGE PASS-THROUGH CERTIFICATES,

SERIES 2007-S6 (the noteholder) has the right to foreclose because Noteholder is the original

mortgagee or beneficiary or assignee of the security instrument for the referenced loan. Noteholder

directly or through an agent has possession of the promissory note and the promissory note is either

made payable to Noteholder or has been duly endorsed.

               WHEREFORE, Movant respectfully requests that this Court enter an Order;

               a.      modifying the Automatic Stay under Section 362 with respect to 676

JEFFERSON ROAD, BRYN MAWR, PA 19010 (as more fully set forth in the legal description

attached to the Mortgage of record granted against the Premises), as to allow Movant, its successors

and assignees, to proceed with its rights under the terms of said Mortgage; and

               b.      Movant specifically requests permission from this Honorable Court to

communicate with Debtor and Debtor's counsel to the extent necessary to comply with applicable

nonbankruptcy law; and

               c.      Granting any other relief that this Court deems equitable and just.

                                                     /s/ Thomas Song, Esquire
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